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                                                                                                          EXHIBIT 1
                                                                                                         CT Corporation
                                                                                          Service of Process Notification
                                                                                                                  08/02/2022
                                                                                                     CT Log Number 542043718


Service of Process Transmittal Summary

TO:       KIM LUNDY- EMAIL
          Walmart Inc.
          GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
          BENTONVILLE, AR 72712-3148

RE:       Process Served in South Carolina

FOR:      Wal-Mart Stores East, LP (Domestic State: DE)



ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: HACKETT GLORIA BRADLEY // To: Wal-Mart Stores East, LP

DOCUMENT(S) SERVED:                     Letter, Summons, Complaint, Standard and First Set of Interrogatories, First Requests

COURT/AGENCY:                           Beaufort County Court of Common Pleas, SC
                                        Case # 2022CP0701388
NATURE OF ACTION:                       Personal Injury - Slip/Trip and Fall - 07/30/2021, Store #6395, at 4 Bluffton Road,
                                        Bluffton, South Carolina 29910
PROCESS SERVED ON:                      CT Corporation System, Columbia, SC

DATE/METHOD OF SERVICE:                 By Traceable Mail on 08/02/2022 postmarked on 07/29/2022

JURISDICTION SERVED:                    South Carolina

APPEARANCE OR ANSWER DUE:               Within 30 days after the service hereof, exclusive of the day of service (Document(s) may
                                        contain additional answer dates)
ATTORNEY(S)/SENDER(S):                  Gus A. Anastopoulo
                                        Gus Anastopoulo Law Firm, LLC
                                        215 East Bay Street, Suite 403A
                                        Charleston, SC 29401
                                        843-310-5555
ACTION ITEMS:                           CT has retained the current log, Retain Date: 08/03/2022, Expected Purge Date:
                                        08/13/2022

                                        Image SOP

REGISTERED AGENT CONTACT:               C T Corporation System
                                        2 Office Park Court
                                        Suite 103
                                        Columbia, SC 29223
                                        877-564-7529
                                        MajorAccountTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT




                                                                                                                       Page 1 of 2
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                                                                                                          CT Corporation
                                                                                           Service of Process Notification
                                                                                                                    08/02/2022
                                                                                                       CT Log Number 542043718

disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                         Page 2 of 2
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PUS Arlastopouto Law Firm, LLC                                                                $13.84 US POSTAGE
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      9:22-cv-02900-BHH         Date Filed 08/31/22            Entry Number 1-1      Page 4 of 22




                                                                                            (843)310-5555   Phone


                                Gus Anastopoulo                                             (843)459-7964
                                                                                         gus@guslawsc.com
                                                                                                            Fax

                                                                                                            Email
                                           LAW       FIRM




July 29, 2022

VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED
Walmart Stores, East LP dfb/a Walmart Supercenter #632
c/o CT Corporation System
2 Office Park Court, Suite 103
Columbia, SC 29923

RE:    Gloria Bradley- Hackett v. Wal-Mart Stores East, LP d/b/a Walmart Supercenter #6395
       Case No.: 2022-CP-07-01388


Dear Sir or Madam:

Enclosed for service upon you the Registered Agent for Wal-Mart Stores East LP d/b/a Walmart
Supercenter #6395 please find (1) copy each of the filed Summons and Complaint in the above
referenced matter,together with Plaintiffs First Set ofInterrogatories and Plaintiffs First Requests
for Production. Upon receipt, please forward these time-sensitive documents to your personal
attorney and/or insurance carrier.

Sincerely,




Gus A. Anastopoulo, Esq.




                            MAILING: 215 E Bay St., Suite 403A,Charleston,SC 29401
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                                                                                                       ELECTRONICALLY FILED - 2022 Jul 28 9:28 AM - BEAUFORT - COMMON PLEAS - CASE#2022CP0701388
 IN THE STATE OF SOUTH CAROLINA )                       IN THE COURT OF COMMON PLEAS
 COUNTY OF BEAUFORT                                     FOR THE 14TH JUDICIAL CIRCUIT
                                                        CASE NO: 2022-CP-07-
 GLORIA BRADLEY-HACKETT,

                                    Plaintiff,
                      V.                                         SUMMONS
                                                            (Jury Trial Demanded)
 WAL-MART STORES EAST,LP d/b/a
 WALMART SUPERCENTER #6395,

                                  Defendant.


 TO:    THE DEFENDANT ABOVE NAMED

       YOU ARE HEREBY SUMMONED and required to Answer the Complaint in this action,

a copy of which is herewith served upon you,and to serve a copy ofyour Answer to said Complaint

upon the Plaintiff or her attorney, Gus A. Anastopoulo, at his office, 215 East Bay Street, Suite

403A, Charleston, South Carolina, 29401, within (30) days after the service hereof, exclusive of

the day of such service and if you fail to Answer the Complaint within the time aforesaid, Plaintiff

will apply to the court for the relief demanded in the Complaint.

       Dated at Charleston, South Carolina on the 28th day of July 2022.



                                                     GUS ANASTOPOULO LAW FIRM,LLC

                                                     s/qus 4nastTou6
                                                     Gus A. Anastopoulo, Esquire
                                                     S.C. Bar No.: 103713
                                                     215 East Bay Street, Suite 403A
                                                     Charleston, SC 29401
                                                    (843) 310-5555
                                                     gus@guslawsc.com
   9:22-cv-02900-BHH        Date Filed 08/31/22      Entry Number 1-1       Page 6 of 22




                                                                                                       ELECTRONICALLY FILED - 2022 Jul 289:28 AM - BEAUFORT - COMMON PLEAS - CASE#2022CP0701388
IN THE STATE OF SOUTH CAROLINA )                     IN THE COURT OF COMMON PLEAS
COUNTY OF BEAUFORT             )                     FOR THE 14TH JUDICIAL CIRCUIT
                                                     CASE NO: 2022-CP-07-
GLORIA BRADLEY-HACKETT,

                                 Plaintiff,                  COMPLAINT
                   V.                                    (Jury Trial Demanded)

WAL-MART STORES EAST,LP d/b/a
WALMART SUPERCENTER #6395,

                               Defendant.



                                      CASE SYNOPSIS

       On July 30, 2021, Gloria Bradley-Hackett went to Walmart to do some shopping for the
weekend. When Gloria arrived at the frozen food aisle, she walked towards the freezer when she
slipped and fell falling squarely on her right shoulder and
arm. There were no cones, no warning signs, and no
Walmart personnel warning Gloria that the floor was wet
and slippery. Fellow customers from inside the store
immediately came to render aid and help, and they called an
ambulance to the scene as it was obvious Gloria was
immediately seriously injured.




                             Despite the apparent nature of Gloria's injuries resulting from the wet
                             floor, it still took Walmart over eight minutes after Gloria'sfall to
                             finally warn their customers of the dangerous condition.
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                                                                                                     ELECTRONICALLY FILED - 2022 Jul 28 9:28 AM - BEAUFORT - COMMON PLEAS - CASE#2022CP0701388
                            PARTIES AND JURISDICTION

1. That the Plaintiff, Gloria Bradley-Hackett,(herein referred to as "Plaintiff') is a citizen and

   resident of Beaufort County, State of South Carolina.

2. That upon information and belief, Defendant Walmart Stores East, LP d/b/a Walmart

   Supercenter #6395 (herein referred to as "Walmart") is a partnership organized and

   existing under the laws of the state of Delaware, with its principal place of business in the

   state of Arkansas, and existing and doing business in and owning real property in Beaufort

   County, State of South Carolina.

3. That all references to "Walmart" collectively includes any and all employees, contractors,

   and/or agents acting on their behalf.

4. That the slip and fall which is the subject ofthis action occurred in Beaufort County, State

   of South Carolina.

5. That this Court has jurisdiction over the parties and the subject matter ofthis action.

                                    SPECIFIC AVERMENTS

6. That on or about July 30, 2021, Plaintiff was a customer, as an invitee and for the benefit

    of Walmart,at Walmart's place ofbusiness located at 4 Bluffton Road,Bluffton,SC 29910.

7. That on or about July 30, 2021, as Plaintiff was walking through Walmart's frozen food

    aisle she slipped on a clear, wet, slick substance left on the floor which caused her to lose

    her balance and fall to the floor, injuring her shoulder, neck, and other parts of her body.

8. That Walmart either knew or should have known that a clear, wet, slick substance left on

    the floor presented a danger to customers of Walmart business; or that Walmart created the

    dangerous condition.
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                                                                                                  ELECTRONICALLY FILED - 2022 Jul 28 9:28 AM - BEAUFORT - COMMON PLEAS - CASE#2022CP0701388
9. That Plaintiff subsequently suffered an extreme high-impact collision with the ground,

   proximately resulting in severe and acute injuries requiring extensive medical treatment.

10. That Walmart owed a duty ofcare to Plaintiff and other patrons to maintain safe conditions

   on the premises, including but not limited to the area where Plaintiff fell.

1 1. That as a direct and proximate result of the negligence, gross negligence, carelessness,

   recklessness, willfulness, wantonness, and acts and/or omissions of Walmart,as is set forth

   more fully above, Plaintiff was injured, has endured pain and suffering, has suffered

   mentally and emotionally, and has incurred, and will incur various medical expenses, and

   has otherwise been damaged and injured.

12. That the fall and attendant injuries and damages to Plaintiff were caused directly and

   proximately by one or more ofthe following negligent, negligent per se, grossly negligent,

   careless, reckless, willful, wanton and unlawful acts, and/or omissions of the Walmart in

   any one or more of the following ways:

           a.     In failing to observe the dangerous conditions upon the subject premises;

           b.     In failing to properly keep the floor clear of obstructions and slip hazards;

           c.     In failing to appreciate the gravity of the dangers associated with having

                  slip hazards on the floor;

           d.     In failing to supervise in the correct cleaning and maintenance of the floor;

           e.     In failing to enact policies and procedures that would ensure the safety of

                  licensees and invitees on the premises of Walmart's place of business;

           f.     In failing and omitting to take any precaution whatsoever of a reasonable

                  nature to protect this Plaintiff from the dangers on the premises on the

                  occasion that the Plaintiff was using the same;
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          g•      In failing to use at least ordinary care to clean, monitor, or maintain the

                  premises of Walmart in a manner to keep it safe;

          h.      In failing to warn Plaintiff as to any dangers that may be present on

                  Walmart's premises;

          i.      In failing to use at least ordinary care to manage, direct, superintend,

                  restrict, regulate, govern, administer, and/or oversee the management of

                  Walmart's premises to keep it safe, clean, and not dangerous to customers;

                  and

          j.      In any such manner Plaintiff may discover through the discovery process or

                  trial.

13. That as a direct and proximate result of the negligence, gross negligence, carelessness,

   recklessness, willfulness, and wantonness of Walmart, as is set forth more fully above,

   Plaintiff has been damaged and injured in the following respects:

          a.      Plaintiff has been required to expend a significant amount of money for her

                  medical care, treatment, and attendant services;

          b.      Upon information and belief, the nature of Plaintiffs injuries will require

                  her to expend a significant amount of money for her medical care,treatment,

                  and attendant services in the future; and

          c.      The pain of her injuries has resulted in her loss of enjoyment of life, mental

                  and emotional distress, and change in her personality, all to the permanent

                  detriment of her health and physical and mental well-being;

14. That Walmart's acts and omissions, as are set forth more fully above, show willful

   misconduct, malice, wantonness, and an entire want of care, raising a presumption of
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       Walmart's conscious indifference to the consequences of such acts and omissions.

    15. That because of Walmart's acts and omission and the proximate harm resulting to Plaintiff,

       Plaintiff should be awarded punitive and actual damages in an amount to be determined by

       the trier of fact, in order to punish and penalize Walmart and to deter Walmart and others

       from similar behavior.

    16. That upon information and belief, Plaintiff is entitled to judgment against Walmart for

       actual,compensatory,and exemplary or punitive damages for her personal injuries set forth

       herein an amount that is fair, just, and reasonable under the circumstances, plus whatever

       costs, interest, and attorney's fees to which she may be entitled, to be determined by ajury.

       WHEREFORE, Plaintiff prays for judgment against Walmart for an amount to be

ascertained by the jury at the trial of this action for all damages, punitive and actual, for the cost

and disbursements of this action, and both prejudgment and post-judgment interest, and for such

other and further relief, in law or in equity, as this court may deem just and proper.



                                                      Respectfully submitted,

                                                      GUS ANASTOPOULO LAW FIRM,LLC

                                                      s
                                                      /cus AnastTouk
                                                      Gus A. Anastopoulo, Esquire
                                                      S.C. Bar No.: 103713
                                                      215 East Bay Street, Suite 403A
                                                      Charleston, SC 29401
                                                     (843)310-5555
                                                      gus@guslawsc.com

                                                      Attorneyfor the Plaintiff


Charleston, South Carolina
July 28, 2022
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IN THE STATE OF SOUTH CAROLINA                       IN THE COURT OF COMMON PLEAS
COUNTY OF BEAUFORT                                   FOR THE 14TH JUDICIAL CIRCUIT
                                                     CASE NO: 2022-CP-07-01388
 GLORIA BRADLEY-HACKETT,

                                    Plaintiff,
                      V.                             PLAINTIFF'S STANDARD AND FIRST
                                                       SET OF INTERROGATORIES TO
 WAL-MART STORES EAST,LP d/b/a                                 DEFENDANT
 WALMART SUPERCENTER #6395,

                                  Defendant.


TO:    THE ABOVE NAMED DEFENDANT,AND ALL COUNSEL OF RECORD:


       The Plaintiff GLORIA BRADLEY-HACKETT,(herein referred to as "Plaintiff') pursuant

to Rule 33 of the South Carolina Rules of Civil Procedure, hereby requests Defendant WAL-

MART STORES EAST, LP d/b/a WALMART SUPERCENTER #6395,(herein referred to as

"Defendant") answer under oath separately and fully in writing the following Interrogatories

within thirty(30)days after the service hereof. These interrogatories are deemed to be continuing,

and if complete answers to any of them are presently unavailable, supplemental answers are

required at the time the information becomes available and prior to trial.


                            DEFINITIONS AND INSTRUCTIONS


A.     These requests are deemed to be continuing, such as to require Defendant to file and serve
       supplemental answers should it learn of additional information called for by these requests
       between the time of trial and the time its answers are filed. Said supplemental answers are
       required to be served within a reasonable time after the discovery of such additional
       information.

B.     You are under a duty to promptly amend prior responses to these requests if you obtain
       information upon the basis of which you know the response was incorrect when made or
       you know the response, though correct when made, is no longer true.




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C.      "You", or "your" means Defendant Wal-Mart Stores East, LP d/b/a Walmart Supercenter
        #6395, its agents, partners, accountants, servants, employees, assignees, lessees, affiliates
        or anyone acting on their behalf, and any affiliate, subsidiary, parent or related corporation,
        partnership or entity, and anyone acting for or on behalf of any such subsidiary, related
        corporation, parent, partnership, entity or natural person.

D.      "Person" means natural persons, corporations, partnerships, sole proprietorships,
        associations, federations, government agencies, or any other kind of entity.

E.      "Identify" when used with respect to an individual, means to state the person's full name
        and any aliases now or previously used by such person, to state and identify the person's
        present occupation and principal business affiliation and any other business affiliations;
        present home address and business address or addresses; and present and past business
        affiliations or relations including those (if any) with any ofthe parties to this civil action.

F.      "Identify" when used in reference to a person(as defined above)other than a natural person,
        means to state its full name; the nature of its organization including the name or the state
        under which it was organized; its address(es); the address(es) of its principal place(s) of
        business; its principal line(s)of business; and identify all known natural persons who serve
        as officers, directors, partners, owners, or in other supervisory or ownership capacity in
        said organization. If any of the above information is not available to Defendant, state any
        other available means of identifying such person.

G.      "Defendant" shall refer to Wal-Mart Stores East, LP d/b/a Walmart Supercenter #6395, its
        agents, partners, attorneys, accountants, servants, employees, assignees, lessees, affiliates
        or anyone acting on its behalf, and any affiliate, subsidiary, parent or related corporation,
        partnership or entity, and anyone acting for or on behalf of any such subsidiary, related
        corporation, parent, partnership, entity or natural person.

                              STANDARD INTERROGATORIES

     1. Give the names, addresses and telephone numbers of persons who may be witnesses
        concerning the facts ofthis action or who have knowledge ofrelevant facts concerning this
        incident, and indicate whether or not written or recorded statements have been taken from
        the witnesses, and indicate who has possession of such statements.
     2. For each person listed in response to the above Interrogatory, set forth either a summary
        sufficient to inform the Plaintiff of the important facts known to or observed by such
        witness or, if applicable, provide a copy of any written or recorded statements taken from
        such witnesses.
     3. Set forth a list of photographs, plats, sketches or other prepared documents in possession



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   ofthe Defendant, or counsel, that relates to the claim or defense in this case.
4. Set forth the names and addresses ofall insurance companies which have liability insurance
   coverage or property damage coverage relating to the claim and set forth the number or
   numbers ofthe policies involved and the amount or amounts of liability coverage provided
   in each policy.
5. List the names, addresses, and telephone numbers of any individual whom you propose to
   use as an expert witness at the trial of this action and for each state in detail their
   qualifications to testify and the substance of his or her opinions and the basis for his or her
   opinion.
6. If the Defendant is improperly identified, give the proper identification and state whether
   counsel will accept service of an amended Summons and Pleading reflecting the correct
    information.
                      SUPPLEMENTAL INTERROGATORIES

1. Identify by name, address, and phone number the senior-most on-site person who, on July
   30, 2021, had the power, authority, and responsibility to manage, direct, superintend,
   restrict, regulate, govern, administer, and/or oversee the management of the premises
   located at 4 Bluffton Road, Bluffton, SC 29910. This person is commonly known as the
   "General Manager."

2. Identify by name, address, and phone number the senior-most on-site person who, on July
   30,2021, had responsibility for cleaning, monitoring, and maintaining the premises located
   at 4 Bluffton Road, Bluffton, SC 29910.

3. As to each expert witness listed in response to Standard Interrogatory Number 5 above,
   please state:
      a. A complete statement of all opinions the witness will express and the basis and
           reasons for them;
       b. The data and other information considered by the witness in forming the opinions;
      c. A description of any exhibits the witness or counsel intends to introduce to
           summarize or support these opinions (to be provided in response to Requests for
           Production);
       d. The witness's qualifications, including a list of all publications authored in the
           previous ten years;
      e. A list of all other cases in which, during the previous 5 years, the witness testified
           as an expert at trial or by deposition;
      f. A statement ofthe compensation to be paid for the study and testimony in the case.




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4. For all photographs relating to this case which are in the possession of the Defendant or
   the Defendant's counsel, please provide:
       a. A brief description of the content of the photograph;
       b. The date the photograph was taken;
       c. The name, address and employer of the person who took the photograph.

5. State separately each fact of which the Defendant or the Defendant's attorney, has
   knowledge,or plans to use as evidence against the Plaintiff. For each separate fact identify
   the following:
       a. The individual's name, address, and telephone number who will testify to this fact;
       b. The source of the fact to which this individual will testify; and
       c. Any documents which support the allegations.

6. Were any statements (oral or written) concerning the incident made to you, any police
   officer, private investigator, insurance company agent or adjuster, or anyone else? If so,
   state:
       a. The name, address and employer ofthe person to whom the statement was made;
       b. The date of each statement;
       c. Whether the statement was oral or written, and if oral, whether it was recorded;
       d. The name and address of the custodian(s) of each statement.

7. Has the freezer in the area that is the subject of this action ever been repaired and/or
   replaced and/or altered in any manner? Please provide the names and addresses of any
   contractors, sub-contractors, employees, or anyone else who worked on either, the dates of
   the work, the reason for the work, and the nature of the work.

8. Please identify all video cameras on Defendant's premises at the time ofthe fall and within
   how many feet ofthe fall they captured film. If no cameras, so state.

9. Describe with particularity exactly what occurred in the ten minutes prior to the incident
   which is the subject of the above action (hereinafter referred to as "the incident"), what
   occurred during the incident, and what occurred in the ten minutes after the incident,
   including anything said by or to you or one of your agents or employees.

10. State what you, or any of your agents or employees saw happen with respect to the incident
    and what you or any one of your agents or employees did to assist Plaintiff after the
    incident.

1 1. Other than this incident, has any person reported slipping and/or tripping and/or falling in
     the area where this incident occurred during the five-year period prior to the date of this
     incident, up to present day? If so, as to each such reported slip and/or trip and/or fall


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   incident, please provide the following information:
       a. The date of each such incident;
       b. A brief description of each such incident, including the type of surface on which
          the person involved in each such incident slipped and/or tripped and/or fell;
       c. A brief description of the injuries suffered by any person involved in each such
          incident;
       d. Whether any of the incidents referred to above resulted in a claim and/or lawsuit,
          and if so, the name of each claimant, date of the filing of each such claim and/or
          lawsuit, the civil number, and a summary of the disposition of each such claim or
          lawsuit.

12. During the five-year period before this incident, did you receive any reports and/or
    complaints with regard to wet and/or slippery floors on the premises? If so, please state:
       a. The date of such complaint and/or report;
       b. Whether or not you have or maintained any documentary material of any kind or
           nature relating or referring to such complaints and/or reports;
       c. What action, if any, was taken by you with respect to such complaint and/or report

13. If anyone investigated this matter for you, state their name(s) and address(es), and state
    whether such investigation was reduced to writing, and the substance oftheir investigation
    and findings. If said investigators obtained any signed, recorded, transcribed or oral
    statement from any individual, identify the person who gave the statement and the present
    custodian of such statement. "Investigators" is deemed to include, but is not limited to,
    medical experts, private investigators, and/or insurance adjusters.

14. Do you believe or have any information tending to show that the injuries to the plaintiff
    were due to any cause other than the cause referred to in the complaint? If so, state:
       a. Each fact on which the defendant bases this claim and all information within the
           Defendant's knowledge that tends to show alleged negligence on the part of the
           Plaintiff;
       b. The name, address, and telephone number of each person having personal
           knowledge ofthe facts and information set forth in the answer to this interrogatory.

15. Do you believe or have information tending to show that the injuries claimed to have been
    sustained by Plaintiff were caused or contributed to by any negligent act or omission on
    the part of any person not named as a defendant in this action? If so, state:
        a. The name, address, and telephone number of each person;
        b. The nature of each negligent act or omission and the manner in which it was
            allegedly committed or omitted;
        c. The name and address of each person who has personal knowledge of any
            information concerning each negligent act or omission on the part of such person.

16. Does the Defendant conduct Safety Meetings pertaining to customer safety for their store




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       located at 4 Bluffton Road, Bluffton, SC 29910? If so, state:
           a. The frequency of these meetings (i.e. weekly, bi-weekly, monthly, annually, etc.)
           b. The specific dates of these meetings were held from May 1, 2021, through July 1,
              2022;
           c. The names and addresses of each person who attended these meetings during the
              period of May 1, 2021, through July 1, 2022;
           d. Whether you have maintained any documentary materials, video and/or audio
              relating to these meetings during the period of May 1, 2021, through July 1, 2022.


                                                    Respectfully Submitted,'

                                                    GUS ANASTOPOULO LAW FIRM,LLC

                                                   s/Gus Anastopoulo
                                                    Gus A. Anastopoulo, Esquire
                                                    S.C. Bar No.: 103713
                                                    215 East Bay Street, Suite 403A
                                                    Charleston, SC 29401
                                                   (843)310-5555
                                                    gus@guslawsc.com
                                                    Attorneyfor the Plaintiff


Charleston, South Carolina
July 29, 2022




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IN THE STATE OF SOUTH CAROLINA )                      IN THE COURT OF COMMON PLEAS
COUNTY OF BEAUFORT                                    FOR THE 141H JUDICIAL CIRCUIT
                                                      CASE NO: 2022-CP-07-01388
 GLORIA BRADLEY-HACKETT,

                                     Plaintiff,
                      V.                              PLAINTIFF'S FIRST REQUESTS FOR
                                                        PRODUCTION TO DEFENDANT
 WAL-MART STORES EAST,LP, d/b/a
 WALMART SUPERCENTER #6395,

                                   Defendant.


TO:    THE ABOVE NAMED DEFENDANT,AND ALL COUNSEL OF RECORD:


       The Plaintiff GLORIA BRADLEY-HACKETT,(herein referred to as "Plaintiff') pursuant

to Rule 34 of the South Carolina Rules of Civil Procedure, hereby requests that the Defendant

WAL-MART STORES EAST,LP d/b/a WALMART SUPERCENTER #6395,(herein referred to

as "Defendant")responds within thirty (30) days after the service hereof to the following request,

to wit, that the Defendant produce and permit the Plaintiff to inspect, copy or photograph each of

the following documents or things, which may be in the possession, custody or control of the

Defendant or their attorneys.


                           DEFINITIONS AND INSTRUCTIONS


A.     These requests are deemed to be continuing, such as to require Defendant to file and serve
       supplemental answers should it learn of additional information called for by these requests
       between the time of trial and the time its answers are filed. Said supplemental answers are
       required to be served within a reasonable time after the discovery of such additional
       information.

B.     You are under a duty to promptly amend prior responses to these requests if you obtain
       information upon the basis of which you know the response was incorrect when made or
       you know the response, though correct when made, is no longer true.

C.     "You", or "your" means Defendant Wal-Mart Stores East, LP d/b/a Walmart Supercenter
       #6395, its agents, partners, accountants, servants, employees, assignees, lessees, affiliates


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       or anyone acting on their behalf, and any affiliate, subsidiary, parent or related corporation,
       partnership or entity, and anyone acting for or on behalf of any such subsidiary, related
       corporation, parent, partnership, entity or natural person.

D.     "Person" means natural persons, corporations, partnerships, sole proprietorships,
       associations, federations, government agencies, or any other kind of entity.

E.     "Identify" when used with respect to an individual, means to state the person's full name
       and any aliases now or previously used by such person, to state and identify the person's
       present occupation and principal business affiliation and any other business affiliations;
       present home address and business address or addresses; and present and past business
       affiliations or relations including those (if any) with any of the parties to this civil action.

F.     "Identify" when used in reference to a person(as defined above)other than a natural person,
       means to state its full name; the nature of its organization including the name or the state
       under which it was organized; its address(es); the address(es) of its principal place(s) of
       business; its principal line(s) of business; and identify all known natural persons who serve
       as officers, directors, partners, owners, or in other supervisory or ownership capacity in
       said organization. If any of the above information is not available to Defendant, state any
       other available means of identifying such person.

G.     "Defendant" shall refer to Wal-Mart Stores East, LP d/b/a Walmart Supercenter #6395, its
       agents, partners, attorneys, accountants, servants, employees, assignees, lessees, affiliates
       or anyone acting on its behalf, and any affiliate, subsidiary, parent or related corporation,
       partnership or entity, and anyone acting for or on behalf of any such subsidiary, related
       corporation, parent, partnership, entity or natural person.

                                 DOCUMENTS REQUESTED

       1.      All documents identified in answers to the Interrogatories ofthe Plaintiff.
       2.      All documents referred to in preparing the answer to the Interrogatories of the
               Plaintiff.
       3.      All photographs, videotapes, maps, plats, drawings, diagrams, measurements,
               surveys, or other descriptions related in any way to the subject matter ofthis action,
               made either before or after the incident that is the subject ofthis action.
       4.      Any and all documents or other tangible items, including books, records, reports,
               photographs, moving pictures, videotapes, drawings, charts, maps, diagrams,
               models, or other documentary materials or tangible objects that the Defendant
               intends to rely upon to support the Defendant, and or which the Defendant intends
               to offer into evidence as exhibits or use as demonstrative aids at the trial of this


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         action.
  5.     All statements of any witnesses in the possession of the Defendant or the
         Defendant's attorney, whether written or recorded on a tape recorder or otherwise,
         that relates to the matters alleged in the Plaintiffs Complaint or the Defendant's
         Answer.
  6.     All memoranda, notes, diagrams, reports, photographs, e-mails, computer data or
         documents, video tapes and audio tapes, or other materials relating in any way to
         the matters alleged or referred to in the Complaint, any injuries or damages claimed,
         and any defenses raised or which could reasonably be raised. As part of this
         production, this should include all photographs, video tapes and audio tapes of the
         Defendant participating in any activity or event on or after the date of the
         accident/incident.
  7.     To produce or permit the Plaintiff or the Plaintiffs attorney to inspect, to
         photograph, and otherwise copy all photographs, plats, or diagrams, the Defendant
         or the Defendant's attorney may have in which relate to the matter alleged herein.
  8.     Any documents (as defined in S.C.R.C.P. 34 (a)), and tangible things of whatever
         nature and description which you intend to introduce into evidence or to use as
         impeachment or evidence at the trial ofthis case.
  9.     The most recent resume or curriculum vitae of any experts that will be used at trial
         or in preparing documents in response to this or other inquiries by the Plaintiff.
  10.    Results from any tests ordered by the Defendant or any expert that is used to support
         the position of the Defendant.
  1 1.   Receipts of all transactions with the experts used in trial preparation including
         receipts for payment for services.
  12.    A copy of all non-privileged documents relating to any pending civil matter
         involving the Defendant in any manner.
  13.    A copy of any employee records from date that is subject of this action, including
         but not limited to timesheets, employee logs, staff lists, and employee reports.
  14.    A complete copy ofany insurance policies, including the declarations page,for any
         policies that might provide coverage to Defendant for the allegations contained in
         the Complaint.



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  15.   A copy ofany video recorded on the date that is subject ofthis action at Defendant's
        premises, whether or not it recorded the actual incident.
  16.   Maintenance, inspection, repair records, and work orders regarding the freezer in
        the aisle where the subject incident occurred for the day of the incident, and one
        year preceding the incident.
  17.   Any daily inspection logs, reports, or lists for subject premises for day of incident
        and one year preceding the incident.
  18.   Any photographs, movies, and/or videotapes ofthe area involved in the incident or
        Plaintiff's injuries and/or which reflect the scene of the incident, immediately
        before incident, or for two days after the incident.
  19.   All maintenance invoices in the possession, custody or control of Defendant or its
        agents, attorneys, investigators, or insurance carriers regarding the freezer in the
        aisle subject to the incident.
  20.   Any and all training manuals and/or videos used in training of employees. This
        includes general employment, management manuals, or videotapes concerning
        safety generally or machinery operating guidelines, rules or regulations.
  21.   All OSHA or South Carolina Department of Labor records or documents in regard
        to premises safety including records from one year prior to the incident subject of
        this action, and to present.
  22.   Any and all documents, reports, audits or other documents provided to Defendant
        by their insurance carrier or any insurance carrier regarding risk management,
        improvement and safety related issues. This request encompasses and includes any
        insurance company, agent, consultant, or safety related entity that has inspect
        Defendant's premises to determine if they had any safety issues which could be
        corrected or improved.
  23.   Any documents, audio and/or video recordings, minutes, reports from all safety
        meetings for Defendant's premises from August 1, 2020 through August 1, 2021.
  24.   Any incident reports, documentation, or otherwise for all incidents involving injury
        to a customer on Defendant's premises from July 1, 2021 through July 31,2021
  25.   Any other documents, videos, photographs, or other tangible things (other than
        checks) provided to your insurance carrier or attorneys regarding this incident



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                whether specifically requested above or not. If you intend to claim a privilege on
                any of these particular documents please see below but note that just because
                 you produce something to an attorney does not make it privileged.

                                            PRIVILEGE

         For each document that would be required to be produced but for a privilege asserted
         against producing it, set forth:
                 a)     The date the document was generated
                 b)     The type of document (e.g., letter, memorandum,record, etc.)
                c)      The name of the person who prepared the original
                 d)     The name and address of the person who received the original
                 e)     The name and address of anyone who received a copy
                        A general description ofthe information recorded in the document

                 g)     The ground on which production is objected to
                 h)     The name of each person, in addition to those identified in 8 through (e)
                        ofthis subpart, known to have seen or have access to the document, and
                 i)      The name ofthe person who now possesses the document.

                DOCUMENTS NO LONGER IN EXISTENCE OR NO LONGER
                                 CONTROLLED OR POSSESSED


If any requested document existed at one time in the possession, custody, or control of any party
but has been lost, discarded or destroyed, or removed from the party's possession, custody or
control, indicate for each such document:
          a)            Its identity (i.e., a description of its contents its date, title, and type of
                         document)
         • b)            When it was most recently in the possession, custody or control ofthe
                         party and what
          c)             Identify any person who currently possesses the document.
   •      d)             State whether the document was transferred or destroyed.
          e)             State the person who transferred or destroyed the document and the person




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                     who authorized or knows of its transfer or destruction.
       f)            State the reason the document was transferred or destroyed, and
       g)            Identify, by providing name, address, and daytime telephone number, all
                     persons having knowledge or the contents of each document.


                                                   GUS ANASTOPOULO LAW FIRM,LLC

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Charleston, South Carolina
July 29, 2022




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